 

 

ta 8 Case 1:17-cv-02407-CCC Documenti1 Filed 12/28/17 Page 1 of 9 FILED
- HARRISBURG, PA

v. 12/16) Complaint for Employment Discrimination poe ee : we ape pe at

Pro Se 7 (Re

   

-('cussy UNITED STATES DISTRICT COURT Per.

eto’

   

 

 

 

 

for the Deputy Glerk
Deshtep Fy i Middle __ District of __ Pent 4
ruil Qos a o ___ Civil Division ©
% CaseNo. | \JaCyn MO] _—
\ gy (to be filled in by pte * fee Le |
) Plaintiff(s) AL Ae oD
) (Write the full name of each Plaintiff who is filing this complaint.

Uf the'wames of all the plaintiffs cannot fit in the space above,
please write “see attached” in the space and attach an additional
page with the full list of names.)

-v-

. Jury Trial: (check oney [V] ves [No

Pennsylvania Higher Education Assistance
Agency/AES;
Brett W. Schreyer; Earl Hoch; Andrew J. Petsu, Esq.

 

Defendant(s)
(Write the full name of each defendant who is being sued. If the
names of all the defendants cannot fit in the space above, please
write “see attached” in the space and attach an additional page
with the full list of names.)

Nee Nee Nice Nee See Nome” Namie” Nei” New Sanur” Newer” Nemo” Senet” Nee Nene

Ne Ne Nee Ne See ee ee ee Ne

COMPLAINT FOR EMPLOYMENT DISCRIMINATION...

 

 

 

 

 

 

 

 

L The Parties to This Complaint
A. The Plaintiffs) /
P aganed ti the < Provide,the information, below for each plaintiff named in the complaint: Attach additional pages if
needed. . pos we
Name June K. Taylor
Street Address 3308 North 4th Street
bung, Daupie O: nely City and County — Harrisburg, Dauphin County
po State and Zip Code 17101 °
Telephone Number 717-233-2366
Sauk 9 E-mail Address june’ 1june111@outlook.com

 

 

B. The Defendant(s)

|. Provide the information below for each defendant named in the complaint, whether the defendant is an
individual, a. government-agency, an organization, or a corporation. For an individual defendant,
-include the;person’s job or title (iffmown). Attach additional pages if needed. :

Bape

   

bong Page 1 of 6

 
 

Case 1:17-cv-02407-CCC

_.- Pto Se 7 (Rev. 12/16) Complaint for Employment Discrimination

 

Defendant No. 1 _

 

a) Pte Leh ethan Namie

    

Job o: or Title (if known)
.... Street Address

City and County

‘State a and Zip Code

 

- Telephone | Number
. E-mail Address (if known)

 

Defendant No. 2

  

SSE, EAN Saf “City: and i County ;
pool .., State and Zip Code

 

 

_ Telephone Number _

 

"Defendant No. 3

Name

   
 

__ Street Address _
_ City and County _

   

Ch. State and Zip Code

 

 

Telephone Number
E-mail Address (if known)

Defendant No. 4

_ Name

 

oo ae 5 _Job or Title (fknown)
Mee voces oss” Street Address

 

  

Ru, Magner bat uy City and County _
Bee ‘State and Zip Code
Ep Pe Telephone Number

, E-mail Address (if known)

_E- “mail Address (if inown)

Job or Title finown) | cee

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Pennsylvania Higher Education Assistance Agency/AES

 

 

1200 North Seventh Street

 

Harrisburg , Dauphin County

 

17101

 

(717) 720-5441

 

 

Brett W. Schreyer

 

‘ Sr. Human Resources Business Partner, PHEAA/AES:

 

- 1200 North Seventh Street

 

Harrisburg, Dauphin County

 

17101

 

  

~ (717) 720-3901 Us iogeros user

 

 

Earl Hoch J iety

 

Department Supervisor, PHEAA/AES «> 212 @

 

a

1200 North Seventh Street

 

Harrisburg, Dauphin County

 

17101

 

(717) 720-3901

 

 

Andrew J. Petsu, Esq.

 

Assistant Counsel, PHEAA/AES :

 

1200 North Seventh Street

 

‘Harrisburg, Dauphin County

 

17104

 

(717) 720-3901

 

 

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__. Pro Se 7 (Rev. 12/16) Complaint for Employment Discrimination

 

Cc. Place of Employment

' :+/Fhe address at' which I sought employment or was employed by the defendant(s) is

 

 

 

 

 

_ Name - PHEAA/AES
“i Street Address ==————- 1200 North Seventh Street
“Y  Cityand County Harrisburg, Dauphin County
State and ZipCode 17104
Telephone Number — (717) 720-5441
Il. Basis for Jurisdiction

This action is-brought for discrimination in employment pursuant to (check all. that. apply) 6 3

A. Fitle Vil of the’ Civil Rights Act of 1964, as codified, 42 U.S.C. §§ 2000e to 2000e- 17 (race,

 

color, gender, religion, national origin).

 

 
 
 

:L.(Notex-In-order to ‘bring suit in federal district court under Titlé VIL you must first obtain a.
=! Notice‘of Right toSue letter from the Equal Employment Opportunity: ‘Commission:):+ vp

   

JtAge sDisdimtteting in Employment Act of 1967, as codified, 29. USE: § § 62110 634.hrupie

(Note: «In'order-to-bring suit in federal district court under the 4j ge Discrimination in:
J & Employmént:Act:youmust first file a charge with the Equal Employment Opportinity
Commission. ) ee ifens

  

Be. Amnéticails with Disabilities Act of 1990, as codified; 42 US.C.§§.121. 12 to H2T17. bt

 

 
 
 

- (Notes In: orderito bring suit in federal district court under the Americans with Disabilities:
= Act; you must first obtain a Notice of Right to Sue letter from the Equal Employment Bae?

 

 

 

 

Opportunity Commission.) Coupowlnatiy Chant heii!
Bfodsiatd so)! Other federal law (specify the federal law):
J Relevant state law (specify, if known):
Ed Relevant city or county law (specify, if known):

 

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Pro Se 7 (Rev. 12/16) Complaint for Employment Discrimination

  
   
 
   
 

II. Statement of Claim

Write a short and:plain statement of. the claim. Do not make legal arguments. State as briefly-as. possible the.
acts- ‘showing: that°each: -plaintiff i is'entitled,to the damages or other relief sought. State how éach defendant was:
volved and.what each: defendant did that caused the plaintiff harm or violated the plaintiffs rights, including - -
ne, dates.and places of that, involvement. OF; conduct. If more than one claim:is asserted, number each claim and
writeia short.and.plain. statement ofeach claim in a separate paragraph. Attach additional pages if needed.

 

 

aie Avson 1.The discriminatory, conduct of-which I complain in this action includes (check-all that apply):

Failure to hire me,
Termination of my employment. ae ford tes hg) enka ao

Failure to promote me.

 

_ Failure to accommodate my disability.

 

Unequal terms and conditions of my employment. | ‘ wguund corns aad aan of a

Retaliation.

 

| OSSSOIS0

Other acts (specify):

   

 

    
  

(Note: Only, those er ounds raised in the charge filed with the Equal. Employnient.
Opportunity Commission can be considered by the federal district ¢ court under: th foe
JSederal employment discrimination statutes.) fi die. sapraumast o

fuses

Sn bE

 

 

 

 

 

 

 

 

‘September 3 3, 2016 through December 8, 2016 Pod
Cc. I believe that defendant(s) (check one): € PPedopes Gus
[Vv] . is/are still committing these acts against me.
fet ee. [J is/are not still committing these acts against me.
.» Defendant(s), discriminated against me based on my (check all that apply. and explain)i:# iii & eee Trig Wakes)
a race
[] color
. CJ gender/sex L coon /gess
: i CJ religion
CJ national origin i Corel ay igas
ope else ASe,(year of birth); ;) 1956 — (only when asserting a i claiin of age discrimination.)
hy disability or perceived disability (specify disability)

 

High blood pressure and diabetes

 

Ew...» ~ -The-facts of my case are as follows. Attach additional pages if needed: + ~~) ~~

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pov tao Case 1:17-cv-02407-CCC Document1 Filed 12/28/17 Page 5 of 9

__Pro Se 7 (Rev. 12/16) Complaint for Employment Discrimination

1; June:Taylor;:file.this:complaint for discrimination against the defendants based: upon the mannerin #2."
(hich. E:was; targeted: as:an:older,:and disabled employee of PHEAA/AES, where'l.had been employed: :
» for 18:5.years.:After. several’ years of receiving accolades, such as “Employee of the Month", and.
cknowledgment:for my:work and job:knowledge, | was placed on a very high level account (The Chase: :
ank:Account): in which: management's attempts to accommodate Chase led to-increased pressure by 2
HEAA.and Chase; which led. to significant health issues, including very high blood pressure and.::

iabetés: -After: receiving an:EMLA: accommodation, | applied for an ADA accommodation because the
nreextreme:pressure:of:the work'environment caused me uncontrollable diabetes.and high blood Pressure, py -

 

 

 

 

«:(Note:-As additional support for thé facts of your claim, you may attach to this complaint a copy.of A
our charge filed: with the:Equal Employment Opportunity Commission, or the ” charge files led with the pee 8 gM
ar) relevant state or city human rights division.) ee

AS IV. Exhaustion of Federal Administrative Remedies (Sn gHAE conf Forrest Acts optrn dy dye ates

raltis-my: bestrecollection: that-I-filed a charge with the Equal Employment: Opportunity. Commission or:
my‘Equal. Employment: Opportunity-counselor regarding the defendant's: 'salleged discriminatory conduct:
On (date)

January 1, 2017 Lodo oad

 
    

The Equal Employment Opportunity Commission (check one): to s2 4
a / O has not issued a Notice of Right to Sue letter. al bois vuht lesecd 2
a rool]. . } issued’ a: HNoti¢e of Right to Sue letter, which I received | on (date): s09/29/2042:

     

 

 

“Opportunity Commission to this complaint.)

 
  

csOnly litigants alleging age discrimination must answef this question: Lig ag:

 

«Since filing :my:charge f-age-discrimination with the Equal Employmient Opportunity Commission: Piratige: ale
j regarding the defendant's alleged discriminatory conduct (check one): eats

    

f

a 60 days or more have elapsed.
ve Gade, [] less than 60 days have elapsed.

 

Vv. Relief

» «State briefly and precisely. what damages or-other relief the plaintiff asks the court:to order.. Do not make legal.
arguments: Include any basis for claiming that the wrongs alleged are continuing ‘at-the present time: _Inchide the ctr
amounts of any actual damages claimed for the acts alleged and:the basis forthese amounts. Include any punitive’:
“orexemplary damages claimed;.the amounts, and the reasons you claim; you: are: entitled to actual or. punitive =
money damages. HP Shsets

 

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~ 8
__ Pro Se 7 (Rev. 12/16) Complaint for Employment Discrimination

Relief Sought:
“f:.121,Back Pay:that-will bring: my final salary to the level of a twenty year (20) ye year employee;

“2.Reinstatement of my-:full:medical-benefits asia retiree, for which | would have been eligible had PHEAA/AES
vrcndcnotterminated my: employment: without providing the accommodation | sought, which would have permitted the

io, oPporuay for me to remain at PHEAA/AES for twenty years.

2.3. Adjustment of my-status.to:"Retired, with twenty years of employment" with PHEAA/AES, to be reflected with

the :PA’State: Employee :Retirement System;‘and reflected in my retirement distribution; and in my Social Security

: benefits; 4.<Other relief which the: Court deems.appropriate and just, given the pain and humiliation | have suffered,

 

 

VI. Certification and Closing

    
  
  
  

' Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,,.
and ‘belief that this:complaint::(1):is not being presented for an improper purpose, such as to harass, cause
utinecessary delay, or:néedlessly iricrease the cost of litigation; (2) is supported by existing law or by a
nonfrivolous argument for extending;:modifying, or reversing existing law; (3):the factual contentions have: ~
‘evidentiary: support:or, if: Specifically: ‘so identified, will likely have evidentiary. support after.a reasonable’ .: :
“opportunity: for further:investigation ‘or discovery; and (4) the complaint o otherwise se complies with the:
requirements of Rule 11. o wed

A. For Parties Without an Attorney / ritae ratetgem Uc emenapge cake Awteap geass

cL agree-to:provide-the.Clerk’s: Office with any changes to my address where case-related papers may bé:
“served. I:understarid:that my failure-to'keep a current address on file with the Clerk's: Office may result.
in the dismissal of my case. SCAG idea of SFY oak

  

Date of signing: 12/26/2017

_ Printed Name of Plaintiff June K. Taylor

 

: ‘ ( .
Signature of Plaintiff ~ Lae aAnd. 4

 

 

 

 

 

B. For Attorneys . LOOM Sierras ys

Date of signing:

 

_ Signature of Attorney
. _ Printed Name of Attorney

 

Bar Number

 

Name of Law Fi irm
Street Address
"State and ‘Zip | Code

 

 

 

Telephone Number
E-mail Address

 

 

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reves — Section Ill, E, additional information

  
 
   
  
  

‘This additional. information, attached, the Charge of Discrimination
filed: by me,'June KzTaylor, with the Pennsylvania Human Relations
Commission; is provided as a supplement to my Complaint for
Employment Discrimination filed with this complaint in Federal
“District Court for the Middle District of Pennsylvania, as: June K.
-Taylor-v=The Pennsylvania Higher Education Assistance Agency/AES;
?.. ‘Brett,W::Schreyer; Earl Hoch; Andrew J. Petsu, Esq.

 

 

 
 

 

  

  
 
 

 

 

EEOC Form 5 (11/09)

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,

 

 

 

 

 

 

 

 

 

   

 

 

 

 

 

! CHARGE OF DISCRIMINATION): | Charge Presented To: Agency(ies) Charge No(s):
This fotm: is affected by the Privacy Act of 1974. See enclosed Privacy Act | [| FEPA
i i Siatemeni and other Information b before completing this form,
: Peesn ’ eA | EEOC 530-2016-04154

; _Pennsylvania Human Relations Commission . and EEOC

‘ State or loca/ Agency, if any
cale Mey Ms, Mrs. Home Phone (incl. Area Code) Date of Birth
Ms. June K: Tayi) ya (717) 232-2366 1956
st SttestAddress ~~ ee eee en City, State and ZIP Code

3308 North 4th Street, Harrisburg, PA 17110

 

N med | is. the. Employer; “Laban Organization; “Employment Agency, Apprenticeship Committea, or State or Local Government Agency. That | Believe
iscriminated Against Me.or Others. (iin more than two, list under PARTICULARS below.) .

 

 

 

 

 

 

  

 

 

 
 
 

 

Nana” | ae a) No Eempioyeas, Mampers Phone No. (Include Area Cada)
PENNSYLVANIA HIGHER El DUCA ON ASSISTANCE AGENCY 500 or More (717) 720-5441
} StreetAddress. thy, Slate and ZIP Code:

4200 North 7th Street, Harrisburg, PA 17101

 

| DISCRIMINATION BASED ON(Chiack appropriate boxfes) Jin +

SOATE(S) DISCRIMINATION TOOK PLACE
Earliest Latest

| 2 -
[J cover RELIGION NATIONAL ORIGIN 11-01-2015 12-08-2016

“RETAUATION AGE DISABILITY [| ‘GENETIC INFORMATION

LEA : . [| CONTINUING ACTION

1

   
    

 

 

THE PARTICULARS ARE (if adaltional paper is needed, altach extra sheat(s)).

Was‘employed by: Respondent:ae:a: Customer Service Representative from July 1, 1997 until
my: discharge. : of shave «disabilities: of which Respondent is aware. Since February 2016, |
requested 'a reasonable; ‘accommodation for my disabilities. The most recent reasonable
|, Jaccommodation. request: was:made on: December 1, 2016. On December 8, 2016, Respondent
discharged me.

 

Respondent stated thatthe reason for my termination was my work performance.

: oul tbelieve: thatd, have ‘been subjected’ to discrimination because of my age in violation of the
Age.: Discrimination: in. Employment! Act: of 1967, as amended, in that younger, simitarly-
situated-employees had: the same performance i issues as me, but they did not get disciplined
or: discharged: +} further: allege: that! have been subjected, to discrimination because of my
oy disabilities,:and-my protected -activity; in violation of the Americans with Disabilities Act of
1990, as amended.

 

‘ TWARE IIS charge jilted with Both the EEGC: andthe Statesorlocal Agency, if any. 1)
| will advise the agencies if t change my address or phone number and | will
cooperate fly with them in the processing. of my charge in accordance with the

NOTARY — When necessary for State and Local Agency Requirements

co

 

| procédures. .

 

{ swearor affirm that | have read the above charge and that it is true to

 

 

ie Geclare under "pena off perjury that the aboveiis 5 true ‘and correct, the best of my knowledge, information and belief,
I: SIOMA SURE OF GtiMbeL pop cep : | SIGNATURE OF COMPLAINANT

i
i
i
\

   

SUBSCRIBED AND SWORN TO BEFORE ME THIS DATE
(month, day, year

 

 

Date . Charging Party Signature

 

 

 

 

 

 

 

 
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* EEOC Form i6t (fate) ee 1) «US. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

 

 

GES DISMISSAL AND NOTICE OF RIGHTS

 

 

To: JuneK, Taylorisicth: Dusteec
3308 North 4th:Street =»

  

— From: Philadelphia District Office
801 Market Street

 

 

 

Harrisbutg;PA17110 Suite 1300
: Ha, PAAR Ts oe Philadelphia, PA.19107
[] On behalf of person(s) aggrieved whose identity is
CONFIDENTIAL (29 CFR §1601.7(a))
EEOC Charge No. EEOC Representative - Telephone No.
530-2016-04154 Legal Unit... (215) 440-2828

  

 

© THE EEOCS.CLOSINGITS FILE ON THIS CHARGE FOR THE FOLLOWING REASON:
= The facts alleged! inthe charge fail to state a claim under any of the statutes enforced by the EEOC.

    

  

:Your‘altegations:did:not involve a disability as defined by the Americans With Disabilities Act.

 

. ‘Pandicy “The -Respondént'employs‘tess than ‘the! required number of employees or is not otherwise covered by the statutes.

 

      
  

“5, Nour.-charge was : not: timely -filed::with <EEOC;-in other words, you waited too long after the date(s) of the alleged
discrimination to file your charge

“The: EEOC, issues:the. following ‘determination: “Based upon its investigation, the EEOC is unable to conclude that the
“information obtained establishes: violations:ofthe statutes. This does not Certify that the respondent is in compliance with
ithe statutes. No-finding: is. made:as:to‘anyother-issues that might be construed as having been raised by this charge.

voy The! EEOC:has adopted: the findings’of the state ‘or local fair employment practices agency that investigated this charge.

[| Other (briefly state)

- NOTICE OF SUIT RIGHTS -

fo) (See the additional information attached to this form.)

 

 

neohuTitleVik the Americans with Disabilities Act;.the Genetic Information Nondiscrimination Act, or the Age

-Discrimination:in Employment Act: This will.be:the:only notice of dismissal and of your right to sue that we will send you.

-You may file alawsuit against the respondent(s):under federal law based on this charge in federal or state court. Your

=! 2* lawsuitimust be filed WITHIN90 DAYS of your-receipt of this notice; or your right to sue based on this charge will be
2h lost: i(The-timeé limit for filing suit based on a claim under state law may be different.) ,

  
 
  

+ - Equal Pay.Act.(EPA)::EPA suits’ must be filed ‘in federal or state court within 2 years (3 years for willful violations) of the
* “alleged: EPA’ underpayment. : Fhis.means:thatbackpay due: for any violations that occurred more than 2 years (3 years)
before you file suit may not be collectible.

i On behalf of the Commission
KB O25) Bost

Kevin J. Berry, (Date Mailed)
on Acting District Director

 

ce:

Andrew J: Petsu, Jr.

AES/PHEAA

LEGAL & COMPLIANCE SERVICES
1200 N. 7th Street

Harrisburg, PA 17102

 

 
